Case 7:97-cr-00024-MFU        Document 605 Filed 06/22/12           Page 1 of 1                Pageid#:
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                                                                                ctERrs OFFICE U.S.DISX GOUA
                                                                                             AT ROANOKE,vA
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                       FO R '1SIE W ESTERN D ISTRIG O F V IRG IM A                       JUN 22 2012
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                                                                                       BY;
U NITED STATES O F AM ERIC A,
                                                  Crim inalN o.7:97c* 0024-5

V.                                                2255 FIN AL O RDER

O BAY DA H AM FIA BED .                           By:Sam uelG .W ilson
                                                  United StatesD istrictJudge

        Forthe reasons stated in the accom panying M em orandum O pinion,itis hereby

                                O RD ERED and A DJUDG ED

thatAbed's 28 U.S.C.j2255 motion (DocketNo.602)isDISM ISSED withoutprejudice as
successive;and thiscase is hereby STRICK EN from the active docketofthe court.

       Further, tinding that A bed has failed to m ake the requisite substantial showing of the

denialofaconstitutionalrightasrequiredby28U.S.C.j2253(c),acertificateofappealabilityis
DENIED .

       The Clerk isdirected to send copies ofthis Orderand the accompanying M em orandum
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                                                                              v..**

O pinion to the parties.                                            A
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                                                                           Z
       ENTER : ThisJune 22,2012.


                                                  UA'ed tatesDistrictJudge
